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    BENJAMIN GUTIERREZ
    Reg. No. 27863-078
    USP YAZOO CITY
    U.S. PENITENTIARY
    P.O. BOX 5000
    YAZOO CITY, MS 39194

                               U.S. DISTRICT COURT
               EASTERN DISTRICT OF TEXAS [LIVE] (SHERMAN)

                                          Cs. No. 4:18-cr-00108-ALM-
    BENJAMIN GUTIERREZ,                   CAN-3

           Petitioner,                    MOTION FOR SENTENCE
                                          REDUCTION UNDER 18 U.S.C. §
    Vs.                                   3582(c)(1)(A) (Compassionate
                                          Release or Sentence Reduction)
    UNITED STATES OF                      (Consideration under, Concepcion v.
    AMERICA,                              United States, No. 20-1650 (June 27,
                                          2022)) and the Amendments to the
           Plaintiff.
                                          Sentencing Guidelines (Preliminary)
                                          April 5, 2023

    Does this motion include a request that any documents attached to this motion

    be filed under seal? Yes

    I. SENTENCE INFORMATION

    Date of sentencing: 08/08/2019

    JUDGMENT AND COMMITMENT ISSUED
    CONSPIRACY TO POSSESS
    WITH THE INTENT TO
                                     87 months imprison ent, fine waived, special
    MANUFACTURE AND
                                     assessment of $100.00, supervised release for a period
    DISTRIBUTE
                                     of 5 years
    METHAMPHETAMINE
     (1)
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    Approximate time served to date: Approximate 4 years

    Projected release date: 10/07/2028
    Length of Term of Supervised Release: 5 years

    Have you filed an appeal in your case?

    XNO

    Are you subject to an order of deportation or an ICE detainer? Yes

    IL EXHAUSTION OF ADMINISTRATIVE REMEDIES

    Petitioner submits that 18 U.S.C. § 3582(c)(1)(A) allows you to file this motion
    because it has been 30 days after the warden of my facility received my request.

    Have you personally submitted your request for compassionate release to the
    Warden of the institution where you are incarcerated?

    X Yes I submitted a request for com assionate release to the warden.

        No, I did not submit a request for compassionate release to the warden.
    If no, explain why not:

    Was your request denied by the Warden?
    Yes, my request was denied by the warden on (date): NO RESPONSE

    No. I have not received a response yet.


    III. GROUNDS FOR RELEASE

    A. Are you 70 years old or older?

    X No.


    Have you served 30 years or more of imprisonment pursuant to a sentence
    imposed under 18 U.S.C. § 3559(c) for the offense or offenses for which you
    are imprisoned?

    X No.


    Has the Director of the Bureau of Prisons determined that you are not a danger
    to the safety of any other person or the community?


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    X Unknown.


    B. Do yo believe there are other extraordinary and compelling reasons for
    your release?


    XYes.


    If you answered Yes, please check all boxes that apply so the Court can
    determine whether you are eligible for release under 18 U.S.C. §
    3582(c)(l)(A)(i).

      I have been diagnosed with a terminal illness.

    X. I respectfully Motion this honorable Court for an Order directing the
    Government to produce Petitioner Gutierrez s BOP Program and Prison
    Rehabilitation Records and BOP Prison Medical Records for inspection by the
    honorable Court

    X There are other extraordinary and compelling reasons for my release.

    A. Petitioner Gutierrez has Extraordinary and Compellin Reasons
       Justifying a Sentence Reduction.

                           FACTS AND PROCEEDINGS


          First, Petitioner Gutierrez submits that in Concepcion v. United

    States, No. 20-1650 (June 27, 2022)(link is external), a 5 to 4 Supreme Court

    held the First Step Act allows district courts to consider intervening changes of

    law (such as changes to the Guidelines) or fact (such as behavior in prison) in

    exercising their discretion to reduce a sentence. This reverses the law in the

    First, Fifth, Ninth and Eleventh Circuits, which before today, limited the

    discretion of district courts to consider only one variable in conducting a

    resentencing under Section 404(b) of the First Step Act-the change to the

    statutory minimum and maximum. But the decision also makes plain the First

    Step Act does not compel courts to their discretion to reduce any sentence based

    on intervening changes in the law or facts. While Concepcion is about crack



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    resentencing under Section 404 of the First Step Act, Professor Douglas

    Berman suggests the Court's ruling should also resolve circuit split on

    compassionate release factors.

          Second, Petitioner s medical condition consists of mild medical

    problems.

          Third, Petitioner Gutierrez has demonstrated exceptional efforts towards

    his rehabilitation during his time of incarceration. He is a role model prisoner.

          Petitioner Gutierrez does not pose a danger to the community, under 18

    U.S. Section 3142(g). Petitioner Gutierrez is presently employed in his present

    institution of confinement. In addition, Petitioner Gutierrez has a job plan

    available upon his release, despite his physical limitations, and a stable

    residence where he is going to reside.

          Petitioner Gutierrez submits that this Court should grant Mr. Gutierrez a

    reduction in his sentence under 18 U.S.C. § 3582(c)(l)(A)(i) because of his
    medical issues, rehabilitation, and the disparity, his age and his youth at the

    time of his offense, and his significant rehabilitation over the significant length

    of time that Mr. Gutierrez has already served in prison. In support, the cases as

    follow: United States v. Hector Luis Rios, No. 3:94-cr-lI2 (JBA) (D. Conn.,

    Dec. 8, 2020); United States v. Hector Lopez, Cr. No. 97-01117 ACK-2 (D.

    Haw. Oct. 27, 2020); United States v. Diego Rodriguez, No. 00-cr-761-2 (JSR)

    (S.D.N.Y., Sept. 30, 2020); United States v. Sergio Santamaria, Case No. 4:04-

    cr-00199-RP-RAW (S. D. Iowa, 2-01-2021); United States v. Jesus Manzo,

    Case No. 2:07-cr-02042-WFN (E. D. Wa. 7-29-2021 ; United States v. Luis

    Cano, l:95-cr-00481-CMA (S. D. Fla., 12-17-2020); and United States v.

    Ledezma-Rodriguez,        F.Supp.3d      (2020) (United States District Court,

    S.D. Iowa, Case No. 3:00-CR-00071, Signed 07/14/2020).


    1. Mr. Gutierrez s Medical Condition and the COVID-19 Pandemic




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             Petitioner Mr. Gutierrez submits that courts throughout the country,

     including in this district, have overwhelmingly concluded that a district court

     can consider factors other than those explicitly listed in subsections (A)-(C) of

    the Sentencing Commissions policy statement when determining whether

      extraordinary and compelling reasons exist warranting compassionate release.

    United States v. Rodriguez, 451 F. Supp. 3d 392, 395-400 (E.D. Pa. 2020).

    Further, this Court has discretion to assess whether Mr. Gutierrez presents

    “extraordinary and compelling reasons for his release outside of those listed in

    the non-exclusive criteria of subsections (A)-(C) of the old policy statement.

    See United States v. Brown, 457 F. Supp. 3d 691, 701 (S.D. Iowa 2020);

    Moody, 05-80121-CR-COHN, 2020 WL 4059659, at 3 (S.D. Fla. May 15,

    2020).
           In determining whether “extraordinary and compelling reasons exist

    courts do not consider a defendant’s medical condition in isolation, rather,

    courts evaluate a defendant’s medical record as a whole, includin takin into

    account a defendant’s age. Blake, 15-CR-80018, 2020 WL 4677309 (S.D. Fla.

    Aug. 12, 2020). The CDC guidelines indicate that people of any age with a BMI
    of 30 or higher are at an increased risk of severe illness from COVID-19.

    United States v. Critchlow, 215CR00006JMSCMM, 2020 WL 5544043, at 1
    (S.D. Ind. Sept. 16, 2020).

           When Congress sought to expand compassionate release to more federal

    inmates, it recognized the Sentencing Commission's criteria were inadequate.

    What is more, even the Commission realized there would be “extraordinary and

    compelling cases that fell outside its three, narrowly drawn examples. See

    U.S.S.G. § 1B1.13. Mr. Gutierrez presents such a case. His sentence, post¬

    rehabilitation, institutional programming, family support, together constitute

    extraordinary and compelling reasons for release.



    2. Sentencing Factors under 18 U.S.C. Section 3553(a)

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    offender, has served several years of his sentence imposed following his

    conviction.

          In evaluating whether a defendant poses a danger to the community

    courts view a defendant s recent good conduct as a more reliable indicator of

    his likelihood to recidivate. Id. (citing Pepper v. United States, 562 U.S. 476

    (2011) (Defendant s post-sentence rehabilitation provides the most up-to-date

    picture of the defendant and is the best evidence available of the likelihood the

    defendant will or will not engage in future criminal conduct).

          Furthermore, Petitioner Gutierrez has a reentry plan that will allow him

    to abide by all terms of supervised release. Petitioner Gutierrez will attest that

    should this Honorable Court grant Petitioner Gutie ez’s Motion for

    Compassionate Release, Petitioner Gutierrez would be employed immediately

    upon release. Affidavits will be available, also counting on strong family ties to

    support his compassionate release.

          Finally, any concerns this Court may still have regarding Petitioner

    Gutierrez’s release, possible recidivism upon his release can be addressed by

    adding additional strict conditions to his sentence of supervised release.

          Petitioner Gutierrez’s documented extensive efforts, excessive sentence,

    post-rehabilitation, institutional programming, family support, together

    constitute extraordinary and compelling reasons and weigh in favor of his

    release or reduction in sentence and, as discussed, his age make recidivism

    unlikely, see also U.S. Sentencing Comm., Length of Incarceration and

    Recidivism, https://www.ussc.gov/sites/default/files/pdf/research-and

    publications/researchpublications/2020/20200429_Recidivism-
    SentLength.pdf(last visited August 4, 2020). Additionally, as illustrated by the
    above relevant chart, “the need to avoid unwarranted sentence disparities

    among defendants with similar records who have been found guilty of similar

    conduct, § 3553(a)(6), also cuts in favor of release. Thus, the applicable §

    3553(a) factors favor release.

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    3. Petitioner Gutierrez s Extraordinary Rehabilitation

           Courts have found that an inmate s rehabilitation while incarcerated, in

    conjunction with other factors, can constitute extraordina y and compelling

    circumstances sufficient to warrant a sentence reduction. See Hope, 90-CR-

    06108-KMW-2, 2020 WL 2477523, at 2 (S.D. Fla. Apr. 10, 2020);
     Stephenson, 3:O5-CR-OO511, 2020 WL 2566760 at 2 (S.D. Iowa May 21,

    2020). 16
           Here, Petitioner Gutierrez provides ample evidence that he is no longer

    the same immature and irresponsible person whom this Court incarcerated

    almost several years ago. See United States v. Millan, 91-CR-685 (LAP), 2020

    WL 1674058, at 9 (S.D.N.Y. Apr. 6, 2020). While incarcerated Petitioner

    Gutierrez has availed himself of countless hours of educational courses.

    Petitioner Gutierrez has also taken significant steps to reform and better himself

    so that he may be a more productive individual upon his release. Petitioner

    Gutierrez has worked for years and forged meaningful relationships with other

     inmates and staff alike, while also fostering relationships with his family

    members this is further evidence of Petitioner Gutierrez s extraordinary

    rehabilitation. See also Ledezma-Rodriguez, 3:00-CR-00071, 2020 WL

    3971517, at 5-6 (S.D. Iowa July 14, 2020) ( Rehabilitation of the defendant
    alone sh ll not be considered sufficiently extraordinary and compelling to

    justify compassionate release. § 994(t) (emphasis added). Yet “statute should

    be construed so that effect is given to all its provisions. . .. This means that for

    the word “alone to do any work as it must the statute allows courts to

    consider rehabilitation as p rt of a compassionate release motion. Thus, several

    courts have found a defendant's rehabilitation to be part of the extraordinary and

    compelling reasons favoring release. ); United States v. Stephenson, 3:05-CR-

    00514, 2020 WL 2566760, at *3 (S.D. Iowa May 21, 2020) (“Courts have
    found that the unprecedented risks of COVID-19 and rehabilitation each



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    constitute extraordinary and compelling reasons to grant compassionate

    release. ).



                   IV. ATTACHMENTS AND REQUEST TO SEAL

    Reqeust to seal documents.
    For each document you are attaching to this motion, state whether you request
    that it be filed under seal because it includes confidential information. All
    Documents


    Document Attached? X Yes

    Request to seal? X Yes

    Proposed Release Plan X Yes

    Additional medical information
    X Yes, See Attached Motion.

                  V. REQUEST FOR APPOINTMENT OF COUNSEL

    I do not have an attorney and I request an attorne be appointed to help me with
    properly briefin my Motion and obtain the documents and evidence
    surroundin housin . Family, Employment and necessary information and
    Medical documents. X Yes

    VI. MOVANT S DECLARATION AND SIGNATURE

    For the reasons stated in this motion, I move this honorable Court for a
    reduction in sentence (compassionate release) under 18 U.S.C. § 3582(c)(1)(A).
    I declare under penalty of perjury that the facts stated in this motion are true and
    correct.


    August 9, 2023

                                          Signature
                                                    BENJAMIN GUTIERRE.
                                                    Reg. No. 27863-078 Z
                                                    USP YAZOO CITY
                                                    U.S. PENITENTIARY
                                                    P.O. BOX 5000
                                                    YAZOO CITY, MS 39194

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